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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


COMMONWEALTH OF PENNSYLVANIA, et al.,

                                   Plaintiffs,

             v.

MIGUEL CARDONA, in his official capacity as                 Civil Action No. 20-cv-01468-CJN
Secretary of Education, et al.,

                                  Defendants,

             and

FOUNDATION FOR INDIVIDUAL RIGHTS
IN EDUCATION, et al.,

                                 Intervenor-Defendants.


                                       JOINT STATUS REPORT
        On December 22, 2021, the parties filed a joint status report requesting that the Court

continue the present stay of all pending briefing deadlines and hold this case in abeyance until

February 25, 2022. Joint Status Report at 3, ECF No. 159. The Court granted the parties’ request

and directed the parties to file an additional joint status report on or before February 25, 2022.

Minute Order, January 3, 2022. In accordance with the Court’s order, the parties have met and
conferred and respectfully file this Joint Status Report.

        1.        This case involves an Administrative Procedure Act challenge to a rule issued by

the U.S. Department of Education, 85 Fed. Reg. 30,026 (May 19, 2020) (“the rule”).

        2.        The following background information has been shared with the Court in the

parties’ prior joint status reports:

                  a.     The President has issued an executive order directing the Secretary of

                  Education to examine the rule for consistency with Title IX of the Education

                  Amendments of 1972, 20 U.S.C. 1681 et seq., and existing federal policy, and as

                  part of implementing that order, the Department of Education has announced a


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                 comprehensive review of the rule. See ECF No. 148 at 1-2, ECF No. 150 at 1; ECF

                 No. 152 at 1; ECF No. 156 at 1; ECF No. 159 at 1.

                 b.     The Department’s Office for Civil Rights (“OCR”) anticipates publishing a

                 notice of proposed rulemaking (“notice”) to amend the rule. See ECF No. 148 at

                 2, ECF No. 150 at 2; ECF No. 152 at 3; ECF No. 156 at 2; ECF No. 159 at 2.

                 c.     In its Fall 2021 Unified Agenda, the Department listed April 2022 as its

                 anticipated date for publication of the notice in the Federal Register. See ECF No.

                 159 at 2.

         3.      On February 17, 2022, the Department transmitted the draft notice to the Office of

Information and Regulatory Affairs (“OIRA”), the part of the Office of Management and Budget

responsible for coordinating the review of all Executive Branch regulations. See U.S. Dep’t of

Educ., Office for Civil Rights Blog, An Update on the Rulemaking Process for Title IX (Feb. 18,

2022); 1 OIRA, List of All Regulatory Actions Currently Under Review (Department of

Education). 2

         4.      Because of the Department’s continuing comprehensive review of the rule,

Plaintiffs and Defendants jointly request that the Court continue the present stay of all pending

briefing deadlines and hold this case in abeyance for an additional sixty-three (63) days, up to and

including Friday, April 29, 2022. Because the Department is exploring administrative actions that

may alter the course of this litigation—including the publication of the notice —the interests of

the parties and of judicial economy would be well served by continuing the present abeyance to

permit the Department to evaluate potential regulatory changes. See Util. Solid Waste Activities

Grp. v. EPA, 901 F.3d 414, 426 (D.C. Cir. 2018); Pharm. Care Mgmt. Ass’n v. U.S. Dep’t of Health

& Hum. Servs., No. CV 21-95 (JDB), 2021 WL 624229, at *1 (D.D.C. Jan. 30, 2021) (holding

case in abeyance during pendency of agency’s review of challenged regulation). Intervenor

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    https://www2.ed.gov/about/offices/list/ocr/blog/index.html
2
    https://www.reginfo.gov/public/jsp/EO/eoDashboard.myjsp



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Defendants have informed Plaintiffs and Defendants that they do not object to this request. The

parties agree to meet and confer and file a Joint Status Report on or before April 29, 2022.


 Date: February 24, 2021                       Respectfully submitted,

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